  

Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 1 of 13

Leave to filey GRANTED

 

United States District Court
For the District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001
Chief and Presiding Judge
James Emanuel Boasberg

SY Sly2/y

me Ey Ppesbera Date
d States District Judge

 

USA
V.

Frank Rocco Giustino

Case #23-cr-16

 

 

 

For the Record

 

Frank Rocco Giustino feels compelled to terminate the services of Evan Flinn Sugar in

order to file, on the record, the oath of office of James Emanuel Boasberg, the Chief Judge and

Judge presiding over this criminal case. The clerk of court is reminded: 18 USC $2076 and 18

USC $1512(b). Upon File Day when this Document is mailed or delivered to a professional

process server, Frank Rocco Giustino is pro se and therefore, leeway is to be granted regarding

form.

Evan Flinn Sugar has already delayed this important filing for over four weeks. It is a

simple task to file the oath of office signed by James Emanuel Boasberg into the record of this

case. Also, the oath of office for the former Chief Judge, Beryl Alaine Howell, is to be put into

the court record. Attached lastly are screenshots positively identifying Evan Flinn Sugar.

  
 
   

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Frank Rocco GIUSTINO

 
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 2 of 13

STATE OF NEW YORK
COUNTY OF NASSAU SS:
COUNTY CLERK’S OFFICE

], MAUREEN O’CONNELL, County Clerk of the County of Nassau,
State of New York and also Clerk of the Supreme Court in and for said

County and State, the same thing being a Court of Record and having a
seal;

DO HEREBY CERTIFY THAT JENNIFER ANN BINDER

Whose name is subscribed to the annexed affidavit, deposition, certificate
of acknowledgment or proof, was at the time of taking the same a NOTARY
PUBLIC in and for the State of New York, duly commissioned and sworn
and qualified to act as such throughout the State of New York; that
pursuant to law a commission, or a certificate of their official character,
and autograph signature, have been filed in my office; that as such the
Notary Public was duly authorized by the laws of the State of New York to
administer oaths and affirmations, to receive and certify the
acknowledgment or proof of deeds, mortgages, powers of attorney and
other written instruments for lands, tenements and hereditaments to be
read in evidence or recorded in this State, to protest notes and to take and
certify affidavits and depositions; and that | am well acquainted with the
handwriting of such Notary Public or have compared the signature on the
annexed instrument with their autograph signature deposited in my office,

IN WITNESS WHEREOF, | have hereunto set my hand and affixed my

official seal at MINEOLA, NASSAU COUNTY, NEW YORK on this 22™ Day
of MAY, 2023.

 
1k Giustino Case 1:23-cr-00016-JEB

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Document 36

Filed 05/30/23

 

 

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Your Partner in ePayments

Thank You for your Payment

This Is your receipt for payment, A copy Is also being sent to you by email.
Please print this receipt and retain it for your records.

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GIUSTINO

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Page 3 of 13

 

Statement Period: All Dates Date of Statement: 06/22/20

 

 

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$0.74 to EVO eZpay, LLC for the site fee listed above

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All rights reserved

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Receipt
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 4 of 13

U.S. Department of Justice
Office of Information Policy
441 G Street, NW

Sixth Floor

Washington, DC, 20530-0001

 

 

Telephone: (202) 514-3642

April 26, 2023
Frank Giustino
(Sato ae ey Re: FOIA-2023-00872
Ea DRH:GMG
Dear Frank Giustino:

This responds to your Freedom of Information Act request dated March 2, 2023, and

received in this Office on March 9, 2023, in which you requested a copy of the Oath of Office
for Judge James Emanuel Boasberg.

Please be advised that this Office previously processed material concerning the
individual named in your letter in response to prior FOIA request. I have determined that
this material, totaling one page, is appropriate for release with excisions made pursuant to
Exemption 6 of the FOJA, 5 U.S.C. § 552(b)(6), which pertains to information the release of
which would constitute a-clearly unwarranted invasion of personal privacy. Please be advised

that we have considered the foreseeable harm standard when reviewing records and applying
FOIA exemptions.

For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c)
(2018). This response is limited to those records that are subject to the requirements of the
FOIA. This is a standard notification that is given to all our requesters and should not be taken
as an indication that excluded records do, or do not, exist.

You may contact our FOIA Public Liaison, Valeree Villanueva, for any further
assistance and to discuss any aspect of your request at: Office of Information Policy, United

States Department of Justice, 441 G Street NW, Sixth Floor, Washington, DC 20530-0001;
telephone at 202-514-3642.

Additionally, you may contact the Office of Government Information Services (OGIS)
at the National Archives and Records Administration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is as follows: Office of Government
Information Services, National Archives and Records Administration, Room 2510, 8601
Adelphi Road, College Park, Maryland 20740-6001; e-mail at ogis@nara.gov; telephone at
202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.

If you are not satisfied with this Office’s determination in response to this
request, you may administratively appeal by writing to the Director, Office of Information
Policy, United States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C.
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 5 of 13

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20530, or you may submit an appeal through OIP'’s FOIA STAR portal by creating an account
following the instructions on OIP’s website: https://www.justice.zov/oip/submit-and-track-

request-or-appeal. Your appeal] must be postmarked or electronically transmitted within 90
days of the date of my response to your request. If you submit your appeal by mail, both the
letter and the envelope should be clearly marked "Freedom of Information Act Appeal."

Sincerely,

Py Af SK,

Douglas R. Hibbard
Chief, Initial Request Staff
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 6 of 13

OATH OF OFFICE FOR UNITED STATES JUDGES

(Title 28, Sec. 453 and Title 5, Sec, 3331, United States Code)

L James Emanuel Boasberg , do solemnly swear (or affirm) that J
will administer justice without respect to persons, and do equal right to the poor and to
the rich, and that I will faithfully and impartially discharge and perform all the duties
incumbent upon me as United States District Judge for the District of Columbia under the
Constitution and laws of the United States; and that I will support and defend the
Constitution of the United States against all enemies, foreign and domestic; that I will
bear true faith and allegiance to the same; that I take this obligation freely, without any
mental reservation or purpose of evasion; and that I will well and faithfully discharge the

duties of the office on which I am about to enter. SO HELP ME GOD.

 

Subscribed and sworn to (or affirmed) before is_{ | day

 

 

Actual abode:

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° Title 28, sec. 456 United States Code as amended.
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6th Floor

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OATH OF OFFICE FOR UNITED STATES JUDGES

(Title 28, Sec, 453 and Title 5, See, 3331, United States Code)

I, James Emanuel Boasherg , do solemnly swear (or affirm) that I
will administer justice without respect to persons, and do equal right to the poor and to
the rich, and that I will faithfully and impartially discharge and perform all the dutics
incumbent upon me as United States District Judge for the District of Columbia under the
Constitution and laws of the United States; and that [ will support and defend the
it jon of t ithe United States against all enemies, foreign and domestic; that 1 will

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which I am about to enter. So HELP ME Gob.

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Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 8 of 13

U.S. Department of Justice
Office of Information Policy
441 G Street, NW

Sixth Floor

Washington, DC, 20530-0001

 

Telephone: (202) 514-3642

April 21, 2023

Frank Giustino

eee Re: FOIA-2022-01789
[SE DRH:GMG

Dear Frank Giustino:

This responds to your Freedom of Information Act request dated August 11, 2022, and
received in this Office on August 22, 2022, in which you requested copies of the Oaths of
Office for Judge Beryl Howell and Magistrate Judge G. Michael Harvey.

Please be advised that this Office previously processed records concerning one of the
individuals named in your letter in response to prior FOIA requests. I have determined that
this material, totaling one page, is appropriate for release with excisions made pursuant to
Exemption 6 of the FOIA, 5 U.S.C. § 552(b)(6), which pertains to information the release of
which would constitute a clearly unwarranted invasion of personal privacy. Please be advised

that we have considered the foreseeable harm standard when reviewing records and applying
FOIA exemptions.

Regarding the portion of your request seeking records pertaining to Magistrate Judge
Harvey, please be advised that the Office of Legal Policy, for which this Office processes
FOIA requests, maintains records pertaining to all sitting federal judges, except magistrate,
bankruptcy, Tax Court, Veterans Appeals Court, and military Courts of Appeal judges. The
Administrative Office of the United States Courts (AOUSC) maintains the personnel files of
all federal judges, including magistrate judges. As the AOUSC is an entity within the judicial
branch, it is not subject to the FOIA. Although the policy of the AOUSC is not to release
documents to the public, should you wish to contact that entity, its address follows:

Judges Compensation and Retirement Services Office
Administrative Office of the United States Courts
One Columbus Circle, NE

Washington, DC 20544.

For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c)
(2018). This response is limited to those records that are subject to the requirements of the
FOIA. This is a standard notification that is given to all our requesters and should not be taken
as an indication that excluded records do, or do not, exist.
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 9 of 13

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You may contact our FOIA Public Liaison, Valeree Villanueva, for any further
assistance and to discuss any aspect of your request at: Office of Information Policy, United

States Department of Justice, 441 G Street NW, Sixth Floor, Washington, DC 20530-0001;
telephone at 202-514-3642.

Additionally, you may contact the Office of Government Information Services (OGIS)
at the Nationa] Archives and Records Administration to inquire about the FOIA mediation
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Adelphi Road, College Park, Maryland 20740-6001; e-mail at ogis(@nara.gov; telephone at
202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.

If you are not satisfied with this Office’s determination in response to this
request, you may administratively appeal by writing to the Director, Office of Information
Policy, United States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C.
20530, or you may submit an appeal through OIP's FOIA STAR portal by creating an account
following the instructions on OIP’s website: https://www.justice.gov/oip/submit-and-track-
request-or-appeal. Your appeal must be postmarked or electronically transmitted within 90
days of the date of my response to your request. If you submit your appeal by mail, both the
letter and the envelope should be clearly marked "Freedom of Information Act Appeal."

Sincerely,

Py Mfr,

Douglas R. Hibbard
Chief, Initial Request Staff
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 10 of 13

OATH OF OFFICE FOR UNITED STATES JUDGES

(Title 28, Sec. 453 and Title 5, Séc. 3331, United States Code)

Ms Beryl Alaine Howell , do solemnly swear (or affirm) that ] will
administer justice without respect to persons, and do equal right to the poor and to the
rich, and that I will faithfully and impartially discharge and perform all the duties
incumbent upon me as United States District Judge for the District of Columbia under the
Constitution and Jaws of the United States; and that I will support and defend the
Constitution of the United States against all enemies, foreign and domestic; that I will
bear true faith and allegiance to the same; that I take this obligation freely, without any
mental reservation or purpose of evasion; and that I will well and faithfully discharge the

duties of the office on which I am:about to enter.. So HELP ME GOD.

Le A Matt

(Signature of Appointee) —

Subscribed and sworn to (or affirmed) before me this

 

 

 

 

day of January. 2011]
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Actual abode: ( 2) ) (S )
Official station” United States District Court for the District of Columbia
Date of birth do) Gey)

 

Date of Entry on Duty __ January 21, 201)

 

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OATH OF OFFICE FOR UNITED STATES JUDGES

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Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 12 of 13

NOTICE OF APPEARANCE IN A CRIMINAL CASE

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

VS. Criminal Number 22-MJ-02

Frank Rocco Giustino
(Defendant)

 

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

[] cua ["] RETAINED [m| FEDERAL PUBLIC DEFENDER

fpia—

 

(Signature)

‘PLEASE PRINT THE FOLLOWING INFORMATION:

Evan Sugar
(Attorney & Bar ID Number)

Federal Defenders of New York, Inc.
(Firm Name)
770 Federal Plaza
, (Street Address)
Central Islip, NY 11722
(City) (State) (Zip)
631-712-6500

(Telephone Number)

 

 

 

 

 
Case 1:23-cr-00016-JEB Document 36 Filed 05/30/23 Page 13 of 13

 

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Registration Number: 4927711

Name: EVAN FLINN SUGAR

Business Name: FEDERAL DEFENDERS OF NEW YORK, INC.
Business Address: 770 FEDERALPLZ

CENTRAL ISLIP, NY 11722-4466
(Suffolk County)

Business Phone: Sr 712-6500

Email ea Se

Date Admitted: - 05/18/2011

Appellate Division Deo SS .

of Admission: 1st

Law School: 3 BENJAMIN N. CARDOZO SCHOOL OF LAW
Registration Status: Attorney - Due to Register within 30 Days of Birthday

Next Registration: Jan 2023

 

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No record of public discipline

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| wy The Detail Report above contains information that has been provided by the
attorney listed, with the exception of REGISTRATION STATUS, which is
generated from the OCA database. Every effort is made to insure the information
in the database is accurate and up-to-date.

The good standing of an attorney and/or any information regarding disciplinary
actions must be confirmed with the appropriate Appellate Division Department.
Information on how to contact the Appellate Divisions of the Supreme Court in
New York is available at www.nycourts.gov/courts.
